Case 0:21-cr-60020-WPD Document 769 Entered on FLSD Docket 09/07/2022 Page 1 of 4




                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 21-CR-60020-DIMITROULEAS/SNOW


       UNITED STATES OF AMERICA,

                        Plaintiff,

       vs.

       RICHARD W ASERSTEIN,

                         Defendant.


                          AMENDED PRELIMINARY ORDER OF FORFEITURE

               THIS CAUSE is before the Court upon the Motion by the United States of America (the

      "United States") to amend the Preliminary Order of Forfeiture [ECF No. 565] (the "Motion") [ECF

      No-:-lfai     Having reviewed the Motion, the record, and the applicable law, the Court finds as follows

      with respect to forfeiture and the Defendant, RICHARD WASERSTEIN:

               1.       On July 29, 2020, the Defendant was charged in a i:hirty.:five (35)-count Indictment

      [ECF No. 110]. As relevant here, Count Twenty-Four of the Indictment charged the Defendant with

      conspiracy to money laundering, in violation of Title 18, United States Code, Section 1956(h).

               2.       The Indictment provided notice in its forfeiture allegations that the United States

      intends to forfeit any property, real or personal, involved in the violation of Title 18, United States

      Code, Section 1956(h), or any property traceable to such property. See Indictment, ECF No. 110 at

      40-42.

               3.       On February 16, 2022, the Court conducted a change of plea hearing in this case,

      during which the Defendant pled guilty to Count Twenty-Four of the Indictment. See Change of Plea

      Minutes, ECF No. 500; Plea Agreement, ECF No. 506. On pages 8-9, paragraph 16, of the Plea
Case 0:21-cr-60020-WPD Document 769 Entered on FLSD Docket 09/07/2022 Page 2 of 4

                                                CASE NO. 21-CR-60020-DIMITROULEAS/SNOW


      Agreement [ECF No. 506], the Defendant agreed to criminally forfeit, pursuant to Title 18, United

      States Code, Section 982(a)(1), the following funds, which the United States previously seized:

                       (a)    All funds on deposit or previously seized by the United States from Bank of

      America account 003765605611 held in the name of the Richard Waserstein ("BOA Ending 5611");

                       (b)    All funds on deposit or previously seized by the United States from Bank of

      America account 898082983551 held in the name of Waters tone Capital Management, LLC ("BOA

      Ending 3551");

                       (c)    All funds on deposit or previously seized by the United States from Marquis

      Bank account 11049575, held in the name of Ness Group Foundation, Inc ("Marquis Ending 9575");

      and

                       (d)    All funds on deposit or previously seized by the United States from Iberia

      Bank account 42001002971, held in the name of Ness Group Foundation, Inc. ("Iberia Ending

      2971 "),

      (collectively, the "Seized Funds"); see Seizure Warrants, Misc. Case No. 20-6532-Hunt.

                 4.    In support of his guilty plea, the Defendant executed a Factual Proffer, and the Court

      found that there was a factual basis to support the Defendant's conviction. See Factual Proffer, ECF

      No. 507.

                 5.    On March 10, 2022, the United States filed its Unopposed Motion for Preliminary

      Order of Forfeiture [ECF No. 563] requesting entry of an order criminally forfeiting the Seized Funds

      consistent with the terms of the Plea Agreement, which the Court granted on March 11, 2022. See

      Order, ECF No. 565 ("Preliminary Order").

                 6.    Also on March 10, 2022, the United States filed its Unopposed Motion for Forfeiture

      Money Judgment [ECF No. 562] requesting entry of a forfeiture money judgment against the

      Defendant for $5,792,828 (US) ("Forfeiture Money Judgment") consistent with the terms of the Plea


                                                         2
Case 0:21-cr-60020-WPD Document 769 Entered on FLSD Docket 09/07/2022 Page 3 of 4

                                                  CASE NO. 21-CR-60020-DIMITROULEAS/SNOW


      Agreement, which the Court granted on March 11, 2022. See Order, ECF No. 564. The Forfeiture

      MoneyJudgment represents the sum of the ill-gotten gains obtained by the Defendant because of the

      offense to which he pled and was found guilty in this case.

                7.     On June 27, 2022, the Court conducted a sentence hearing in this case during which

      the Court granted a 5K1 .1 motion reducing, among other things, the amount of the Forfeiture Money

     Judgment from $5,792,828 (US) to $579,282 (US) ("Amended Forfeiture Money Judgment"). See

      Sentencing Minutes, ECF No. 731; Judgment, ECF No. 732; Amended J&C, ECF No. 732; see also

      Amended Preliminary Order of Forfeiture, ECF No. 736.

                8.     According to the United States, the funds seized from BOA Ending 5611 and BOA

      Ending 3551 and criminally forfeited satisfy the Amended Forfeiture Money Judgment. Therefore,

      the United States requests that the Preliminary Order be amended only to vacate the criminal forfeiture

      of the funds seized from Marquis Ending 9575 and Iberia Ending 2971 and that the Court direct

      release of these funds accordingly.

                Therefore, based on the foregoing, the Court hereby

                ORDERS and ADJUDGES that:

                1.     The Motion is GRANTED.

                2.     The Preliminary Order of Forfeiture [ECF No. 565] is VACATED only with respect

      to the following assets:

                       (a)       All funds on deposit or previously seized by the United States from Marquis

      Bank account 11049575, held in the name of Ness Group Foundation, Inc ("Marquis Ending 9575");

      and

                       (b)       All funds on deposit or previously seized by the United States from Iberia

      Bank account 42001002971, held in the name of Ness Group Foundation, Inc. ("Iberia Ending

      2971"),


                                                          3
Case 0:21-cr-60020-WPD Document 769 Entered on FLSD Docket 09/07/2022 Page 4 of 4

                                                 CASE NO. 21-CR-60020-DIMITROULEAS/SNOW


              3.      The United States shall release the funds seized from Marquis Ending 9575 and Iberia

     Ending 2971 as soon as practicable and in accordance with applicable law and rules.

              4.      All other provisions of the Preliminary Order of Forfeiture [ECF No. 565] regarding

      the criminal forfeiture of the following assets remain in full force and effect:

                      (a)     All funds on deposit or previously seized by the United States from Bank of

     America account 003765605611 held in the name of the Richard Waserstein;

                      (b)     All funds on deposit or previously.seized by the United States from Bank of

     America account 898082983551 held in the name of Waters tone Capital Management, LLC;

              5.      Pursuant to Rule 32.2(6)(4) of the Federal Rules of Criminal Procedure, this Amended

     Preliminary Order of Forfeiture is final as to the Defendant.

              5.      The Court shall retain jurisdiction in this matter for the purpose of enforcing this

     Amended Preliminary Order of Forfeiture.



     September 2022.


                                                               WI LIAM P. DIMI~ 0 LEAS
                                                               UNITED STATES DISTRICT JUDGE
     cc:      counsel of record




                                                          4
